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June 26, 2023                                                                   Via ECF

Hon. Lisa Pupo Lenihan
Joseph F. Weis, Jr.
U.S. Courthouse
700 Grant Street
Pittsburgh, PA 15219


Re:   O’Hanlon, et al. v. Uber Technologies, Inc., et al., No. 2:19-cv-00675-LPL

Dear Judge Lenihan:

       We represent Plaintiffs in this action. Pursuant to the Court’s May 26, 2023,
Order (ECF No.113), we submit this status report on behalf of all parties to inform the
Court that the parties are continuing to work to finalize terms of a settlement agreement.

       Therefore, on behalf of and with the consent of all parties, we propose that the
parties submit a joint status update to the Court regarding the progress of the settlement
agreement by July 26, 2023, if the case has not been dismissed by that date.

      We thank the Court for its consideration of this request.



Respectfully,




Rebecca C. Serbin



cc:   All counsel of record (via ECF)
